       Case 3:23-cv-03417-VC           Document 440        Filed 02/14/25   Page 1 of 9




December 20, 2024


E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

       Re: Kadrey, et al v. Meta Platforms, Inc.; Case No. 23-cv-03417-VC (TSH)

Dear Magistrate Judge Hixson:

        Plaintiffs and Defendant Meta Platforms, Inc. (“Meta”) jointly submit this letter brief
regarding Meta’s third and fourth sets of privilege logs, produced on December 13 and 16, 2024,
respectively. The parties met and conferred on December 17, 2024, but were unable to reach a
resolution.
         Case 3:23-cv-03417-VC           Document 440          Filed 02/14/25       Page 2 of 9




    I.      PLAINTIFFS’ STATEMENT
        Meta’s efforts to withhold business documents and business advice under the guise of
attorney-client privilege continue unabated. See Dkt. Nos. 269; 309; 319. Less than two hours
before the close of fact discovery on December 13, Meta served its third set of privilege logs,
comprising 1,919 new entries. Then, on Monday, December 16, Meta served a fourth log with 57
more entries. Like Meta’s other privilege logs, these massive, last-minute logs contain hundreds
of entries reflecting privilege claims that both fail to substantiate any actual “legal advice”
requested or provided by counsel rather than business discussion and analysis, and fail the
“primary purpose” test. Attached as Exhibit A are the privilege log entries for the documents that
Plaintiffs challenge (the “Challenged Documents”), many of which contain no identified attorneys
whatsoever; many others that appear to reflect minimal attorney involvement; and none of which
appear to involve privileged communications as opposed to business considerations and analyses.
       Attorney-client privilege “must be strictly confined within the narrowest possible limits
consistent with the logic of its principles.” Sierra Club, Inc. v. United States Fish & Wildlife Serv.,
925 F.3d 1000, 1011 (9th Cir. 2019). The privilege “applies only where necessary to achieve its
purpose” and “protects only those disclosures necessary to obtain informed legal advice which
might not have been made absent the privilege.” Fisher v. United States, 425 U.S. 391, 403 (1976).
Meta bears the burden of proving privilege applies. Vasudevan Software, Inc. v. IBM Corp., 2011
WL 1599646, at * 1 (N.D. Cal. Apr. 27, 2011). Meta fails to do so for the Challenged Documents.
    A. Meta’s Log Entries Fail To Establish Privilege Over Hundreds of Logged Documents.
         Meta’s privilege logs are deficient on their face for the majority of the Challenged
Documents. A privilege log must identify (a) the attorney and client involved, (b) the nature of the
document, (c) all persons or entities shown on the document to have received or sent the document,
(d) all persons or entities known to have been furnished the document or informed of its substance,
and (e) the date the document was generated, prepared, or dated. Dozens of entries in Meta’s logs
do not identify a single attorney in the “Author/From,” “To,” or “CC” columns, or any attorneys
by name in the “Legal Source” column. Instead, the “Legal Source” is vaguely identified as “MPI
In-House Legal Counsel.” See Ex. B (showing the subset of Challenged Documents where no
specific attorney is listed as the “Legal Source”).1
         This practice is insufficient. Privilege assertions must identify attorneys by name—mere
references to “counsel” fail to state a prima facie claim of privilege. See, e.g., Laatz v. Zazzle, Inc.,
2024 WL 3849348, at *2 (N.D. Cal. Aug. 15, 2024) (prima facie showing requires “identif[ying]
the attorney involved”). General references to some communication with unnamed in-house
counsel are insufficient to withhold documents. See, e.g., Elan Microelectronics Corp. v. Apple,
Inc., 2011 WL 3443923, at *5–6 (N.D. Cal. Aug. 8, 2011) (logs deficient when they fail to identify
attorneys by name); Palmer v. Cognizant Tech. Sols. Corp., 2021 WL 3145982, at *12 (C.D. Cal.
July 9, 2021) (ordered to amend log by “providing the name of the attorney(s) involved and stating
where in the email chain/document the attorney(s) was involved”). Meta thus failed to substantiate
its privilege claims for these documents and the Court should hold that Meta thereby waived any
privilege over them. See Apple Inc. v. Samsung Elecs. Co., 306 F.R.D. 234, 237 (N.D. Cal. 2015).


1
 The Challenged Documents also include a small number where: the named “Legal Source” is not on
Meta’s list of counsel; the author is “anonymous”; and “legal advice” is being sought from a non-attorney.


                                                    1
           Case 3:23-cv-03417-VC            Document 440         Filed 02/14/25       Page 3 of 9




      B. Meta Withholds Hundreds of Business Documents Without Attorney Involvement.
       The Challenged Documents appear to involve primarily business matters. But the privilege
only covers legal advice, i.e., what is legally permissible and impermissible; “that’s it.” Epic
Games, Inc. v. Apple Inc., 2024 WL 4947269, at *1 (N.D. Cal. Dec. 3, 2024). It doesn’t cover in-
house counsel’s involvement or input on business considerations and analyses, let alone things like
“business analys[e]s and recommendation[s] for how to comply with a legal requirement.” Id.
        “[D]ual purpose communication[s] can only have a single primary purpose.” In re Grand
Jury, 23 F.4th 1088, 1091 (9th Cir. 2022). For communications that “may relate to both legal and
business advice, the proponent of the privilege”—here, Meta—“must make a ‘clear showing’ that
the ‘primary purpose’ of the communication was securing legal advice.” Dolby Lab’ys Licensing
Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 873 (N.D. Cal. 2019). Meta’s paltry attempts to give the
Challenged Documents the gloss of legal advice through vague statements that a document
“reflects” such advice and passing references to legal considerations fall far short of satisfying the
“primary purpose” test. See, e.g., Wisk Aero LLC v. Archer Aviation Inc., 2023 WL 2699971, at
*6 (N.D. Cal. Mar. 29, 2023); Illumina Inc. v. BGI Genomics Co., 2021 WL 2662074, at *4 (N.D.
Cal. June 29, 2021) (a “businessperson’s statement that the company needs to assess legal risk as
part of its SWOT analysis is not privileged” and a “slide deck that mentions potential legal risk
twice in passing is not how a company asks for legal advice”).
       Meta’s catch-all “MPI In-House Legal Counsel” is again the primary offender. Dozens of
withheld documents purportedly reflect legal advice from unspecified attorneys and conveyed by
non-attorneys. For example, Log No. 277 in Meta’s Third Privilege Log (Emails) is described as
a “chat reflecting legal advice concerning copyright issues.” But the chat is authored by non-
attorney Melanie Kambadur, a research manager, and sent only to non-attorney Thibaut Lavril, an
engineer. Apparently, this is what “MPI In-House Legal Counsel” refers to. But there also is
another, more accurate phrase to describe “MPI In-House Legal Counsel”: business
communications. In other words, Meta attempts to have privilege “descend like a giant fog bank
over every document that is in some”—here, unidentified—“way connected with an effort to
achieve legal compliance.” Epic Games, 2024 WL 4947269, at *1.
     Moreover, the surrounding context in many of Meta’s partially-redacted Challenged
Documents make their primary business purpose abundantly clear. As just a few examples2:
              ●    Meta_Kadrey_00097364. This presentation titled “Should business use cases be
                   part of Meta Al or separate?” has redactions on the introductory “Context” slide.
              ●    Meta_Kadrey_00096657. This document reflects notes from an “AI Sync” among
                   businesspeople. An entire ½ page section under “Usage of News Data” is redacted.
              ●    Meta_Kadrey_00209461. This email is between a research scientist and a
                   communications manager and just concerns a comms strategy for product launches.
Because Meta’s logs fail to establish privilege over Challenged Documents and, regardless, the
Challenged Documents primarily (or exclusively) involve business considerations and analysis,
the Court should order their production. The Court should also order Meta to re-review its other
redacted and withheld documents in light of the Court’s ruling and re-produce similar documents.


2
    Due to page limitations, Plaintiffs are unable to provide more examples here but can do so upon request.


                                                       2
       Case 3:23-cv-03417-VC           Document 440        Filed 02/14/25      Page 4 of 9




II. DEFENDANT’S STATEMENT3
        Plaintiffs’ seriatim challenges to Meta’s privilege redactions as allegedly covering business
advice are based on an erroneous statement of the law and otherwise lack merit. Plaintiffs argue
here again that the “primary purpose” test has to be measured against a document as a whole, and
that the attorney-client privilege cannot apply to part of a document. But this Court has ruled that
is not correct. (ECF 351) (citing United States v. Chevron Corp., 1996 WL 444597, *2 (N.D. Cal.
May 30, 1996).) Thus, Meta may assert the attorney-client privilege over isolated sentences or
paragraphs within a document. See id.; see also In re Meta Pixel Healthcare Litigation, 2024 WL
3381029, *6 (N.D. Cal. July 10, 2024) (approving redactions for attorney-client privilege).
Plaintiffs’ challenge, like their earlier one, should be denied.
        Plaintiffs again seek review of hundreds of entries on Meta’s privilege log based on the
same erroneous legal standard, as well as on mere speculation that a withheld document that does
not expressly name an attorney in the “Legal Source” column is per se business and not legal
related. These arguments provide no basis for invading Meta’s privilege or even for permitting in
camera review. As the Supreme Court has made clear, in camera review is permitted only where
a challenger presents a factual basis to support its challenge. See United States v. Zolin, 491 U.S.
554, 571-72 (1989). Plaintiffs’ bare list of 287 documents and arguments under the wrong legal
standard fall far short of that burden. Relief should be denied.
        An in camera review of privileged documents “is an intrusion which must be justified.” In
re Grand Jury Investigation, 974 F.2d 1068, 1074 (9th Cir. 1992). The challenging party must
present a factual basis sufficient to support a reasonable, good faith belief that an in camera
inspection may reveal evidence that the materials are not privileged. Id. at 1074-75 (discussing
Zolin, 491 U.S. at 569-572). Here, Plaintiffs have simply provided a list of 287 documents and
made generalized, speculative arguments. Notably, Plaintiffs’ list of challenged documents
includes: documents where attorneys are identified as the “Legal Source” (See, e.g., Ex. A, Entry
342); documents redacting portions labeled clearly as “Legal Risks” (in the unredacted portion); a
document including “Product Liability Risk” in its title, attached to an email from an attorney (id.,
Entry 584); and documents that are clearly legal hold notices (id., Entry 68, 249, 252). That such
plainly privileged documents are on Plaintiffs’ list only underscores its impropriety.
        Plaintiffs also seek to challenge documents where a non-attorney Meta employee (i.e., the
client) was describing legal advice received or needed from an attorney in Meta’s in-house legal
department without naming the attorney (e.g., “Legal said we should do ‘x’…”). For such
situations—as Meta has told Plaintiffs—Meta’s log uses the identifier “MPI In-House Legal
Counsel” in the “Legal Source” column to identify the source as an attorney within Meta’s in-
house legal team.4 Notably, Meta’s in-house team includes approximately 1,500 attorneys who are

3
  Following the parties’ meet and confer on December 17, Meta conducted a document-by-
document re-review of the list of documents Plaintiffs stated they would challenge and agreed to
reproduce some additional documents without or with fewer redactions, as well as to update its
privilege log with additional names of the attorneys under Legal Source.
4
 Plaintiffs challenge 7 documents even though a Meta attorney is specifically identified: Jennifer
Newstead, Mo Metanat, Robert Vega, Korey Anvaripour, and Victoria Ajayi. Ex. A, Entry, 158,
159, 342, 418, 658, 1065, 54. A simple search - or question to the undersigned - would have
confirmed these are Meta attorneys. Plaintiffs’ challenge to these documents is frivolous.


                                                 3
        Case 3:23-cv-03417-VC           Document 440         Filed 02/14/25       Page 5 of 9




consulted daily on legal matters. Plaintiffs’ demand to identify individual attorneys underlying
each reference to “Legal” would require Meta to conduct a separate investigation into each
document. This effort would be entirely disproportional to the needs of this case, particularly
when the document is otherwise sufficiently identified and shown to be privileged. For example,
a recent District Court opinion from the Northern District of Illinois addressed this issue of large
in-house legal teams and correctly found privilege logs sufficient where they identify a client’s in-
house legal team as the attorney(s). See Washtenaw Cnty. Emps.’ Ret. Sys. v. Walgreen Co., No.
15 C 3187, 2020 WL 3977944, at *5 (N.D. Ill. July 14, 2020).5
        Plaintiffs’ cited authority does not require more. In Laatz v. Zazzle, Inc., it was unclear that
there were any in-house legal counsel involved, let alone that counsel was the source of the advice
at issue. No. 22-cv-04844, 2024 WL 3849348, at *2 (N.D. Cal. Aug. 15, 2024). Similarly, Elan
Microelectronics Corp. v. Apple, Inc., 2011 WL 3443923, at *5–6 (N.D. Cal. Aug. 8, 2011),
involved entries regarding “communications with Elan’s ‘legal’ department withheld on the basis
of attorney-client privilege even though the department does not include any licensed attorneys.”
And the court in Palmer v. Cognizant Technology Solutions Corp., No. CV 17-6848, 2021 WL
3145982, at *12 (C.D. Cal. July 9, 2021), found that the challenging party did not even meet the
standard for in camera review, let alone the draconian relief sought by Plaintiffs of waiver of all
privilege in these documents. Finally, Apple Inc. v. Samsung Electronics Co., 306 F.R.D. 234,
237 (N.D. Cal. 2015), is not about the lack of identification of each legal source by name.
        In short, Meta did identify the source of legal advice for all of its privilege assertions
(including, where relevant, “MPI In-House Legal Counsel”). Plaintiffs have not provided any
justification for forcing Meta to undertake the incredibly burdensome process of investigating
every document to name the attorney on Meta’s in-house legal team who provided the advice,
particularly when the other information provided to Plaintiffs confirms the document is privileged.
        In addition, as before (ECF Nos. 309, 336), Plaintiffs challenge documents where non-
attorneys are discussing legal advice or plans to seek legal advice. But the attorney-client privilege
protects non-attorney communications made “for the purpose of facilitating the rendition of
professional legal services.” In re Grand Jury, 23 F.4th 1088, 1092–93 (9th Cir. 2021) (citations
omitted). “Courts in the Ninth Circuit have determined that ‘the attorney-client privilege is not lost
where non-attorney employees [i.e., the client] engage in communications primarily for the
purposes of transmitting information to legal counsel so they may provide legal advice or
disseminating information from legal counsel to the employees of the corporation.’” PUMA SE v.
Brooks Sports, Inc., No. 2:23-CV-00116, 2024 WL 4476767, at *3 (W.D. Wash. Oct. 11, 2024).
As is particularly relevant for many of the documents challenged here, legal advice may be
transmitted “between non-attorneys ... so that the corporation may be properly informed of legal
advice and act appropriately.” MGA Ent., Inc. v. Nat’l Prods. Ltd., No. CV 10-07083, 2012 WL
3150532, at *4 (C.D. Cal. Aug. 2, 2012) (protecting from disclosure “emails explicitly referred to

5
  As Washtenaw explains, that the in-house attorneys are not identified “does not defeat the
privilege claim or trigger in camera review. Depending on the complexity of the issues and the
size of the corporation, identifying each advising attorney as to each email may be difficult and
even cost-prohibitive.” Id. Moreover, “[t]he lack of identification of these attorneys does not
engender a disbelief in the veracity of the log entries sufficient to require in camera review. In any
event, the Court is not persuaded that further identification of the lawyers who gave the advice is
proportional to the needs of the case at this time.” Id.


                                                   4
          Case 3:23-cv-03417-VC       Document 440         Filed 02/14/25     Page 6 of 9




counsel, were sent in furtherance of the defense of this action, and appear to have been made in
confidence”).
        Finally, Plaintiffs’ three specific examples—again, out of 287 documents with no specific
showing—fail to demonstrate a factual basis for in camera review, let alone disclosure. To begin,
none of these documents are being withheld in full; they are partially, surgically redacted.
Meta_Kadrey_00097364 includes on its cover the statement that the presentation “contains advice
of external EEA counsel.” The redactions in Meta_Kadrey_00096657 that reflect legal advice on
copyright issues would make sense given this section’s discussion of the “Usage of News Data.”
Likewise, it is unsurprising that there would be references to privileged legal communications and
advice in an email discussing communications strategy for a product announcement, such as in
Meta_Kadrey_00209461.
        The Court should deny Plaintiffs’ motion seeking production of hundreds of Meta’s
privileged documents—a motion based on the wrong legal standard and speculation. Should the
Court consider granting this motion, Meta requests additional briefing (including an opportunity
to provide declarations) and/or consideration of less draconian relief. As a party can substantiate
a claim of privilege by other means, Apple Inc., 306 F.R.D. at 237, granting Plaintiffs’ requested
relief without any opportunity to cure—based on a 5-page letter brief—would be manifestly unjust.
   III.     PLAINTIFFS’ REPLY
       Meta relies on outdated precedent in United States v. Chevron Corp., 1996 WL 444597, at
*2 (N.D. Cal. May 30, 1996), decided decades before the Ninth Circuit adopted the primary
purpose test. See In re Grand Jury, 23 F.4th 1088, 1090 (9th Cir. 2021) (observing, “the natural
implication of this inquiry is that a dual-purpose communication can only have a single ‘primary’
purpose.”). Plaintiffs note this Court’s adherence to Chevron in Dkt. No. 351, but respectfully
submit that Chevron has been abrogated in relevant part by In Re Grand Jury, a case that is
especially probative with respect to attempts to redact discrete excerpts from business documents.
         As such, this Court has repeatedly held that discrete sections of overwhelmingly business-
related documents cannot be properly redacted based on an attenuated connection to legal advice.
See Wisk Aero LLC v. Archer Aviation Inc., 2023 WL 2699971, at *6 (N.D. Cal. Mar. 29, 2023)
(applying In Re Grand Jury and overruling privilege claims over set of comments mentioning legal
risk). Meta’s attempt to shield discrete portions of business documents cannot be squared with the
primary purpose test. Meta emphasizes brief references to “Legal Risks” and “Product Liability
Risk,” including employees’ attempts to weigh in on risks without the involvement of counsel, in
the challenged documents. This ignores Illumina Inc. v. BGI Genomics Co., 2021 WL 2662074, at
*4 (N.D. Cal. June 29, 2021) (overruling privilege claims over mere mentions of “legal risk”).
        Meta also cites to In re Meta Pixel Healthcare Litig., 2024 WL 3381029, at *6 (N.D. Cal.
July 10, 2024). There, the Court relied heavily on the fact that Meta “identified the attorneys
involved in the communications.” Id. Meta repeatedly fails to do the same here—indeed, Plaintiffs
selected the documents at issue here largely because Meta did not identify individual attorneys.
Even where Meta names individuals as the “Legal Source,” many of those individuals do not
appear on the list of attorneys Meta provided Plaintiffs for exactly this purpose. As such, there is
no prima facie privilege assertion over the withheld documents. The documents at issue are
business documents, not legal ones. They primarily advance Meta’s business goals of obtaining
massive amounts of data to train its AI models. Meta should not be able to keep Plaintiffs in the
dark about the relevant decision-making.


                                                 5
      Case 3:23-cv-03417-VC        Document 440     Filed 02/14/25     Page 7 of 9




By: /s/ Bobby Ghajar                          By:    /s/ Maxwell V. Pritt

Bobby A. Ghajar                               BOIES SCHILLER FLEXNER LLP
Colette A. Ghazarian                          David Boies (pro hac vice)
COOLEY LLP                                    333 Main Street
1333 2nd Street, Suite 400                    Armonk, NY 10504
Santa Monica, CA 90401                        (914) 749-8200
Telephone: (310) 883-6400                     dboies@bsfllp.com
Facsimile: (310) 883-6500
Email: bghajar@cooley.com                     Maxwell V. Pritt (SBN 253155)
        cghazarian@cooley.com                 Joshua M. Stein (SBN 298856)
                                              44 Montgomery Street, 41st Floor
Mark R. Weinstein                             San Francisco, CA 94104
Elizabeth L. Stameshkin                       (415) 293-6800
COOLEY LLP                                    mpritt@bsfllp.com
3175 Hanover Street                           jstein@bsfllp.com
Palo Alto, CA 94304                           Jesse Panuccio (pro hac vice)
Telephone: (650) 843-5000                     1401 New York Ave, NW
Facsimile: (650) 849-7400                     Washington, DC 20005
Email: mweinstein@cooley.com                  (202) 237-2727
       lstameshkin@cooley.com                 jpanuccio@bsfllp.com

Kathleen R. Hartnett                          Joshua I. Schiller (SBN 330653)
Judd D. Lauter                                David L. Simons (pro hac vice)
COOLEY LLP                                    55 Hudson Yards, 20th Floor
3 Embarcadero Center, 20th Floor              New York, NY 10001
San Francisco, CA 94111                       (914) 749-8200
Telephone: (415) 693-2071                     dsimons@bsfllp.com
Facsimile: (415) 693-2222                     jischiller@bsfllp.com
Email: khartnett@cooley.com
       jlauter@cooley.com                     Interim Lead Counsel for Plaintiffs

Phillip Morton
COOLEY LLP
1299 Pennsylvania Avenue, NW, Suite 700
Washington, DC 20004
Telephone: (202) 842-7800
Facsimile: (202) 842-7899
Email: pmorton@cooley.com

Angela L. Dunning
CLEARY GOTTLIEB STEEN &
HAMILTON LLP
1841 Page Mill Road, Suite 250
Palo Alto, CA 94304
Telephone: (650) 815-4121



                                          6
      Case 3:23-cv-03417-VC         Document 440   Filed 02/14/25   Page 8 of 9




Facsimile: (650) 849-7400
Email: adunning@cgsh.com

Attorneys for Defendant Meta Platforms, Inc.




                                               7
        Case 3:23-cv-03417-VC          Document 440         Filed 02/14/25      Page 9 of 9




               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 20, 2024                                      BOIES SCHILLER FLEXNER LLP


                                                              /s/ Maxwell V. Pritt
                                                              Maxwell V. Pritt
                                                              Reed Forbush
                                                              Jay Schuffenhauer

                                                              Attorneys for Plaintiffs




                                                  8
